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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

 IN RE:

                                                                               CASE NO.: 18-52051-A998
 MURRAY STEPHEN KASMENN,
         Debtor.                                                                            CHAPTER 13
 _________________________________/

                   NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
        Pursuant to Rule 2002 and 9010 of the Federal Rules of Bankruptcy Procedure, the undersigned
attorney enters this Notice of Appearance on behalf of U.S. BANK TRUST, N.A., AS TRUSTEE FOR
LSF9 MASTER PARTICIPATION TRUST (hereinafter referred to as “Creditor”), a secured creditor
in the above reference case on real property located at 4229 HIGHBORNE DRIVE, MARIETTA, GA
30066. Creditor, through counsel hereby requests that all notices to Debtor (s) or Creditors also be mailed
in car of Creditor as follows:
                                       RAS CRANE, LLC
                            10700 ABBOTT’S BRIDGE ROAD, SUITE 170
                                      DULUTH, GA 30097




                                                         RAS CRANE, LLC

                                                         /s/ Andrea L. Betts_______
                                                         Andrea L. Betts
                                                         Attorney for Creditor
                                                         Georgia Bar # 432863
                                                         RAS Crane LLC
                                                         10700 Abbott's Bridge Road, Suite 170
                                                         Duluth, GA 30097
                                                         Telephone: 470-321-7112
                                                         Fax: 404-393-1425
                                                         Email: abetts@rascrane.com
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                                        CERTIFICATE OF SERVICE
             I HEREBY CERTIFY that on February 28, 2018 I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via CM/ECF or

United States Mail to the following parties:

MURRAY STEPHEN KASMENN
4229 HIGHBORNE DRIVE NE
MARIETTA, GA 30066

HOWARD P. SLOMKA
SLIPAKOFF & SLOMKA
2859 PACES FERRY RD, SE
OVERLOOK III – SUITE 1700
ATLANTA, GA 30339

NANCY J WHALEY
STANDING CHAPTER 13 TRUSTEE
303 PEACHTREE CENTER AVENUE
SUITE 120, SUNTRUST GARDEN PLAZA
ATLANTA, GA 30303

This the 28 th day of February, 2018.

                                                       RAS CRANE, LLC

                                                       /s/ Andrea L. Betts______
                                                       Andrea L. Betts
                                                       Attorney for Creditor
                                                       Georgia Bar # 432863
                                                       RAS Crane LLC
                                                       10700 Abbott's Bridge Road, Suite 170
                                                       Duluth, GA 30097
                                                       Telephone: 470-321-7112
                                                       Fax: 404-393-1425
                                                       Email: abetts@rascrane.com
